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 2   R. Tamar Hagler (CA Bar #189441)
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 3   Matthew J. Donnelly (IL Bar #6281308)
 4   Emily M. Savner (NY Bar #5214358)
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     United States Department of Justice
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     Attorneys for the United States
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14                IN THE UNITED STATES DISTRICT COURT FOR THE
15                            DISTRICT OF ARIZONA

16

17    United States,
                                                      No. 3:12cv8123-HRH
18
                   Plaintiff,
19    v.
                                                   NOTICE REGARDING FILING OF
20                                                 POLICE CONSULTANT’S REPORT
21    Town of Colorado City, Arizona, et al.,      UNDER SEAL

22                 Defendants.
23

24         On January 25, 2018, this Court issued an order requesting that the parties file a
25 notice addressing the necessity of having the report of the police consultant in this case,

26 Jim Keith, filed under seal. The United States hereby files this notice requesting that the

27 report not be filed under seal. Upon reviewing the report, there is no confidential or

28 sensitive information that requires the report to be filed under seal. Additionally, the


                                                  1
 1 public has an interest in knowing the Defendants’ progress in implementing the terms of

 2 this Court’s order and the status of this case. The report is a fair and accurate assessment

 3 of the parties’ current progress with respect to policy review, and the United States looks

 4 forward to continuing to work with the parties to finalize the policy manual. Accordingly,

 5 for the above reasons, the United States requests filing the report as a public entry and not

 6 under seal.

 7

 8
     Dated: February 7, 2018
 9

10                                                   STEVEN H. ROSENBAUM
11                                                   Chief
                                                     Special Litigation Section
12
                                                     SAMEENA SHINA MAJEED
13
                                                     Chief
14                                                   Housing and Civil Enforcement Section

15                                                   R. TAMAR HAGLER
16                                                   PAUL KILLEBREW
                                                     Deputy Chiefs
17
                                                        s/ F. Nicole Porter
18
                                                     MATTHEW J. DONNELLY
19                                                   EMILY M. SAVNER
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20                                                   F. NICOLE PORTER
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                                                 2
                              CERTIFICATE OF SERVICE
 1
          I certify that on February 7, 2018, I caused a copy of the foregoing NOTICE
 2
   REGARDING FILING OF POLICE CONSULTANT’S REPORT UNDER SEAL to be sent
 3 via the Court’s ECF system to the following:

 4
          Jeffrey C. Matura
 5        Melissa J. England
 6        Barrett & Matura, P.C.
          8925 East Pima Center Parkway, Suite 100
 7        Scottsdale, Arizona 85258
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 9        R. Blake Hamilton
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          Salt Lake City, Utah 84111
12        Attorneys for Defendants City of Hildale, and Twin City Water Authority
13
                                              s/ F. Nicole Porter
14
                                           F. NICOLE PORTER
15                                         Attorney for the United States
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